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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNI


UNITED STATES OF AMERICA,                  CASE NO. l1CR5524-H

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
MIGUEL TORRES,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Indictment/Information:

     18 USC 371 CONSPIRACY; 18 USC 1324 (a) (2) (B) (ii),       (a) (1) (B) (I) and (v)

     (II) - Transportation of Illegal Aliens and Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 2/19/13
                                            William McCurine, Jr.
                                            U.S. Magistrate Judge
